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 8                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WASHINGTON
 9                                    AT SEATTLE
10 OHIO SECURITY INSURANCE
   COMPANY; and THE OHIO CASUALTY                   No.: 2:21-cv-00972-RSL
11 INSURANCE COMPANY,
                                                    STIPULATED MOTION $1'25'(5
12                       Plaintiff,                 TO CONTINUE BRIEFING
                                                    DEADLINES AND NOTING DATE FOR
13         v.                                       OHIO’S MOTION FOR SUMMARY
                                                    JUDGMENT
14 REICHHARDT & EBE ENGINEERING,
   INC.; THE CITY OF MOUNT VERNON;
15 and COMMERCIAL COLD STORAGE,
   INC.,
16
                    Defendant.
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19         Plaintiffs Ohio Security Insurance Company and The Ohio Casualty Insurance
20 Company (together, “Ohio”) and Defendant Reichhardt & Ebe Engineering, Inc. (“R&E”)

21 (together with Ohio, the “Parties”) submit this Stipulated Motion to Continue Briefing

22 Deadlines and Noting Date for Ohio’s Motion for Summary Judgment.
23         Ohio filed its Motion for Summary Judgment (Dkt. 19) (the “Motion”) on November
24 8, 2021, noting the Motion for consideration on December 3, 2021. Ohio subsequently
25 reached a settlement with Defendant City of Mount Vernon. Ohio and R&E are currently
26 exploring options to resolve this case.

     STIPULATED MOTION $1'25'(5                                  PAGE 1    Bullivant|Houser|Bailey PC
                                                                             925 Fourth Avenue, Suite 3800
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                                                                             Telephone: 206.292.8930
                 Case 2:21-cv-00972-RSL Document 26 Filed 11/19/21 Page 2 of 2




 1            The Parties hereby stipulate that all deadlines associated with the Motion be extended

 2 by two weeks in order to allow the Parties additional time to explore a potential resolution of

 3 this case. Accordingly, the Parties stipulate that the noting date for Ohio’s Motion be

 4 continued to December 17, 2021, with R&E’s response brief due on December 13, 2021 and

 5 Ohio’s reply due on December 17, 2021.

 6            IT IS SO ORDERED this WK dayy of November 2021.

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                                                  ROBERT S. LASNIK
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11 Presented by:

12 BULLIVANT HOUSER BAILEY PC
13

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      STIPULATED MOTION TO CONTINUE BRIEFING DEADLINES AND             PAGE 2    Bullivant|Houser|Bailey PC
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                                                                                 Seattle, Washington 98104
      NO.: 2:21-CV-00972-RSL                                                     Telephone: 206.292.8930
